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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

STANLEY PACE, an individual                            :
                                                       :
Plaintiff,
                                                       :
v.                                                     :                Case No. 4:17-cv-00518
                                                       :
CONSTELLATION BRANDS, INC.,                            :
a Delaware Corporation, and its wholly                 :
owned subsidiary RUFFINO S.r.L.                        :
                                                       :
Defendant.                                             :



              DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTIONS
                TO ORDER AND REPORT AND RECOMMENDATION
___________________________________________________________________________________

        NOW COME Constellation Brands, Inc. (“CBI”) and Ruffino S.r.L. (“Ruffino”) (collectively

“Applicants”) and file their Response to Plaintiff’s Objections to Order and Report and Recommendation

(“Response”).

                   I.      BACKGROUND AND PRELIMINARY STATEMENT

        1.      Applicants filed their Application for Temporary Restraining Order and Preliminary

Injunction (“Application”) (Dkt. 18) on November 3, 2017. On December 7, 2017, the parties presented

before the Honorable Kimberly C. Priest Johnson for argument on the Application. It was confirmed

during briefing and argument on the Application that Stanley Pace (“Pace”) has and will continue to

attempt to sell the domain name “rufino.com” (“Infringing Domain”). After review of the evidence

submitted and arguments of counsel, on December 13, 2017, Magistrate Priest Johnson issued the Order

and Report and Recommendation of United States Magistrate Judge (Dkt. 34) (“Magistrate’s Report”).

On December 28, 2017, Pace filed his Objections to Order and Report and Recommendation (Dkt. 36)

(“Objection”), but failed to state any legitimate basis for which this Honorable Court should not adopt the

Magistrate’s Report and grant the Application. The Magistrate’s Report properly concluded that the


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Application should be granted, the relief sought by Applicants is proper, and Pace failed to rebut the same.

In short, Pace has 1) waived objections under 28 U.S.C. § 636(b)(1)(C) by failing to object to the vast

majority of claims set forth by Applicants; 2) the Magistrate’s Report applied the correct standard of

review and made express findings; 3) Pace did not establish evidence of the fair use defense under the

ACPA; and 4) the Magistrate’s Report properly concluded that Applicants demonstrated a substantial

threat of irreparable harm.

              II.      PACE FAILED TO OBJECT TO ANY OF APPLICANTS’ CLAIMS
                                 OTHER THAN ACPA CLAIMS

         2.         As clearly set forth in Applicants’ Counterclaim (Dkt. 10), Applicants set forth six (6)

separate and distinct state and federal trademark causes of action. 1 Specifically, Applicants set forth claims

under 11 U.S.C. § 1114, 15 U.S.C. § 1125(a), 15 U.S.C. § 1125(c), 15 U.S.C. § 1125(d), Tex. Bus. &

Comm. Code § 16.102, and Tex. Bus. & Comm. Code § 16.103 (collectively “Claims”). Id. Pace has

only articulated an argument that the Magistrate’s Report failed to address the safe harbor provision of

the Anticybersquatting Consumer Protect Act (“ACPA”) under Section 1125(d) of the Lanham Act. 2

Obviously, the safe harbor only pertains to the ACPA, not Applicants’ other five (5) causes of action. As

a result, pursuant to 28 U.S.C. § 636(b)(1)(C), Pace has waived any objection to the validity of Applicants’

other Claims that support the findings in favor of injunctive relief. Each and every element of the Claims

was supported by the evidence submitted by Applicants including evidence submitted by and through the

Declaration of Sandro Sartor (Dkt. 18-3). 3 Applicants, therefore, request that this Honorable Court

confirm the findings set forth in the Magistrate’s Report and issue the relief requested in the Application.




1
  Dkt. 10 at 9-14.
2
  Dkt. 36 at 2-3.
3
  For the first time in the Objection, Pace argues that the Declaration of Sandro Sartor is “self-serving and conclusory.”
Dkt. 36 at 4. However, none of the facts or evidence submitted in the Declaration of Sandro Sartor was ever objected to,
refuted, or disputed by Pace. Dkt. 18-3.

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                 III. THE MAGISTRATE’S REPORT APPLIES THE CORRECT
                   STANDARD OF REVIEW AND MAKES EXPRESS FINDINGS

        3.       “A plaintiff seeking a preliminary injunction must show: 1) a substantial likelihood of

success on the merits; 2) a substantial threat that plaintiff will suffer irreparable harm if the injunction is

not granted; 3) the threatened injury outweighs any damage that the injunction might cause the defendant;

and 4) the injunction will not disserve the public interest.” 4 The decision to grant a preliminary injunction

lies within the sound discretion of the district court. 5 An abuse of discretion occurs when a court “(1)

relies on clearly erroneous factual findings; (2) relies on erroneous conclusions of law; or (3) misapplies

the law to the facts.” 6 Findings of fact are reviewed only for clear error; legal conclusions are subject to

de novo review. 7 “As with injunctive relief generally, an equitable remedy for trademark infringement

should be no broader than necessary to prevent the deception.” 8

        4.       The Magistrate’s Report applies the correct standard of review. In his Objection, Pace

argued that the Magistrate’s Report failed to make express findings. 9 Quite to the contrary, for example,

the Magistrate’s Report clearly finds as follows:

                 At the December 7, 2017, hearing, [Pace’s] counsel admitted that [Pace] had attempted to
                 sell “rufino.com” since the NAF Decision, and that [Pace] intended to continue his
                 attempts to sell the domain name during the pendency of this action…. [I]f [Pace] was
                 successful in selling the “rufino.com” domain name during the pendency of this case, any
                 decision declaring [Applicants] as the rightful owners of “rufino.com” and ordering [Pace]
                 to submit a full and final transfer would be meaningless.

                 …

                 At the December 7, 2017, hearing, [Pace] argued that, if the requested injunctive relief is
                 granted, he will be deprived of potential profit in selling “rufino.com.” [Pace] conceded,
                 however, that since the NAF Decision ordered transfer of “rufino.com” to [Applicants],
                 [Pace] cannot “transfer” the domain name; however, [Pace] argued he should still be
                 allowed to “sell” the domain name despite the NAF Decision and the pending case before
                 the Court. In other words, [Pace] argued that, if the requested injunctive relief is granted,


4
  Dickey’s Barbecue Pit, Inc. v. Celebrated Affairs Catering, Inc., 2017 WL 10794231, at *2 (E.D. Tex. Mar. 22,
2017)(Mazzant, J.)(citing Nichols v. Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008)).
5
  Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985).
6
  McClure v. Ashcroft, 335 F.3d 404, 408 (5th Cir. 2003).
7
  Paulsson Geophysical Services, v. Sigmar, 529 F.3d 303, 306 (5th Cir. 2008).
8
  Westchester Media, LLC v. PRL USA Holdings, Inc., 214 F.3d 658, 674 (5th Cir. 2000).
9
  Dkt. 36 at 3-4.

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                  he will lose potential profit in selling a domain name he acknowledges he cannot currently
                  transfer. The Court finds this hardship of lost potential profit to [Pace] negligible in
                  comparison to [Applicants’] potential injury if the status quo is not maintained. 10

The Magistrate’s Report properly sets forth “reasonable detail[s]” as required by Rule 65(d) of the Federal

Rules of Evidence and issued a narrowly tailored preliminary injunction. Applicants, therefore, request

that this Honorable Court confirm the findings set forth in the Magistrate’s Report and issue the relief

requested in the Application.

                           IV.      PACE DID NOT ESTABLISH EVIDENCE OF
                                   THE FAIR USE DEFENSE UNDER THE ACPA

         5.       Several courts have departed from a strict adherence to the statutory indicia under the

ACPA and have relied expressly on a more case-specific approach to bad faith. 11 As a part of the analysis,

courts look to a defendant’s whole course of conduct, including conduct during ACPA litigation. 12 The

factors are given to courts as a guide, not as a substitute for careful thinking about whether the conduct at

issue is motivated by a bad faith intent to profit. 13

         6.       “Cybersquatting is the Internet version of a land grab. Cybersquatters register well-known

brand names as Internet domain names in order to force the rightful owners of the marks to pay for the

right to engage in electronic commerce under their own name.” 14 Registering “well-known marks to prey

on consumer confusion by misusing the domain name to divert customers from the mark owner’s site to

the cybersquatter’s own site,” and targeting “distinctive marks to defraud consumers” constitutes bad




10
   Dkt. 34 at 5 & 6.
11
   Sporty’s Farm, LLC v. Sportsman’s Mkt., Inc., 202 F.3d 489, 493 (2d Cir. 2000)(stating “[t]he most important grounds
for our holding that Sporty’s Farm acted with a bad faith intent…are the unique circumstances of this case, which do not
fit neatly into the specific factors enumerated by Congress but may nevertheless be considered under the
statute.”)(emphasis added); see also Newport News Holdings Corp. v. Virtual City Vision, Inc., 650 F.3d 423, 436 (4th
Cir. 2011)(refusing to apply a “formalistic approach” to application of the enumerated factors and not that doing so could
“undermine the purpose of the ACPA, which seeks to prevent the bad faith and abusive registration of distinctive marks
as Internet domain names with the intent to profit from the good will associated with such marks.”).
12
   See, e.g., Storey v. Cello Holdings, LLC, 347 F.3d 370, 385 (2d Cir. 2003)(stating “Congress intended the cybersquatting
statute to make rights to a domain-name registration contingent on ongoing conduct rather than to make them fixed at the
time of registration.”).
13
   Isystems v. Spark Networks, 2012 U.S. App. LEXIS 6197 n. 16 (5th Cir. 2012).
14
   Interstellar Starship Services, Ltd. v. Epix, Inc., 304 F.3d 936, 946 (9th Cir. 2002).

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faith. 15 Registration of domain names that constitute slight variations of a registered mark, including

domain names that differ by one or two characters, often satisfies the requirement of confusing

similarity. 16 Typosquatting is the use of a domain name that constitutes a typo or intentional misspelling

of distinctive or famous names. 17 The Fifth Circuit has expressly held that the ACPA covers

typosquatting. 18 “A defendant who acts even partially in bad faith in registering a domain name is not, as

a matter of law, entitled to benefit from [ACPA’s] safe harbor provision.” 19

         7.       Nearly the entire basis of Pace’s argument is predicated on Southern Co. v. Dauben, Inc.,

which is much different both factually and legally to the present case. In such case, there was no evidence

that the defendant attempted to sell the domain at issue. Here, however, Pace attempted to sell the

Infringing Domain for $94,000.00 approximately three (3) months after filing this suit and six (6) months

after the UDRP arbitration decision. 20 Despite arguing extensively that he could not transfer the Infringing

Domain, Pace attempted to sell the Infringing Domain and profit from such sale. Without injunctive relief,

nothing prohibits Pace from 1) reinstating Sedo.com, LLC’s services to sell the Infringing Domain, 2)

engaging another service to monetize the Infringing Domain, 3) privately selling the Infringing Domain,

and/or 4) licensing the Infringing Domain for email use. In addition to other evidence establishing Pace’s

bad faith actions and intent to sell the Infringing Domain, the Declaration of Sandro Sartor (Dkt 18-3)

clearly establishes Pace’s bad faith acts of typosquatting and Pace’s common trend of attempting to profit

from a senior mark user’s goodwill and brand recognition. 21


15
   TMI, Inc. v. Maxwell, 368 F.3d 433, 439 (5th Cir. 2004).
16
   Gioconda Law Group, PLLC v. Kenzie, 941 F. Supp. 2d 424, 430 n. 6 (S.D.N.Y. 2012).
17
   Tex. Int’l Prop. Assocs. v. Hoerbiger Holding AG, 624 F. Supp. 2d 582, 587 (N.D. Tex. 2009); see also Dkt. 18-3 at
¶¶2-7.
18
   S. Co. v. Dauben, Inc.¸ 324 F. App.’x 309, 312 n. 2 (5th Cir. 2009).
19
   Virtual Works, Inc. v. Volkswagen of Am., Inc., 238 F.3d 264, 270 (4th Cir. 2001); see also Audi AG v. D’Amato, 469
F.3d 534, 550 (6th Cir. 2006)(stating without an injunction “Audi would be irreparably harmed by consumers on
[defendant’s] site purchasing counterfeit items, instead of those that were lawfully sold by Audi.”).
20
   Dkt. 18-2; Dkt. 18-3 Ex. A; Dkt. 26-1.
21
   Dkt. 18-3 at ¶¶6-14. “[W]hen the senior user’s trademark is famous in the marketplace and where the junior user was
aware of the trademark and of its fame, a presumption of bad faith arises from the choice of the same name because it is
inferable that the junior user adopted the mark for the purpose of profiting from the aura of goodwill surrounding the
senior user’s mark.” E. & J. Winery v. Spider Webs, Ltd., 286 F.3d 270, 276 (5th Cir. 2002)(citing E. & J. Winery v.
Gallo Cattle Co., 1989 U.S. Dist. LEXIS 7950 (E.D. Cal. 1989)). “[I]t was appropriate for the trial court to prevent [the
Defendant] from registering or using an internet domain name containing the words ‘Gallo’ or ‘Ernest’ and ‘Julio’ in

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        8.       This matter is much more akin to Tex. Int’l Prop. Assocs. v. Hoerbiger Holding AG. In

such case, like Pace, the defendant argued that the infringing domain name refers to a surname and, thus,

registration was not made in bad faith. The Court found such an argument to be “disingenuous” based on

the cybersquatter’s use of the infringing domain name to divert web traffic. 22            Here, in the Declaration

of Sandro Sartor, Mr. Sartor detailed that Pace used the Infringing Domain to divert web traffic from

“ruffino.com” to the Infringing Domain. 23 Similarly, the UDRP Decision (Dkt. 18-2), 24 indicated that

Pace used a “standard click-through technique” that directed consumers to “Sponsored Listings” for

wineries and wine retailers. 25 These actions clearly constitute bad faith. Additionally, despite arguing

that the Infringing Domain references a surname, Pace failed to set forth any relevant or admissible

evidence to show that the Infringing Domain is protected under the fair use exception set forth in the

ACPA. In Applicants’ Reply in Support of Application for Temporary Restraining Order and Preliminary

Injunction (Dkt. 26), Applicants set forth objections to the website printouts offered by Pace and, thus,

such printouts are not evidence. 26 The website printouts offered by Pace make reference to matters outside

of the United States and do not address the effect such arguments would have on consumers in the United

States or even that consumers in the United States are aware of the same. Applicants, therefore, request

that this Honorable Court confirm the findings set forth in the Magistrate’s Report and issue the relief

requested in the Application.




combination, and we affirm the trial court’s injunction as issued.” Id. (confirming an injunction that prohibited the
unauthorized use and cybersquatting on the plaintiff’s trademark).
22
   Tex. Int’l Prop. Assocs. v. Hoerbiger Holding AG, 624 F. Supp. 2d 582, 589 (N.D. Tex. 2009)(concluding the “fair use”
defense does not prevent a finding of bad faith).
23
   Dkt. 18-3 at ¶¶ 6, 8-11.
24
   A court’s reference to a UDRP panel arbitration decision is not error. S. Co. v. Dauben, Inc.¸ 324 F. App.’x 309, 316
(5th Cir. 2009).
25
   Dkt. 18-2 at 8.
26
   Dkt. 26 at ¶¶ 23-24; see also Fed. R. Evid. 801-803, 805, 901; Alanis v. Tracer Indus. Mgmt. Co., 2016 U.S. Dist.
LEXIS 110400 *24-25 (E.D. Tex. Aug. 18, 2016)(Crone, J.)(concluding photos from a local newspaper website are
inadmissible hearsay); Versata Software, Inc. v. Internet Brands, Inc., 2012 U.S. Dist. LEXIS 92920 *12-28 (E.D. Tex.
July 5, 2012) (Bryson, J.)(concluding email is inadmissible hearsay).

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     V.        THE MAGISTRATE’S REPORT PROPERLY CONCLUDED THAT APPLICANTS
               DEMONSTRATED A SUBSTANTIAL THREAT OF IRREPARABLE HARM

          9.      The Fifth Circuit has concluded that “where a district court has determined that a

meaningful decision on the merits would be impossible without an injunction, the district court may

maintain the status quo and issue a preliminary injunction….” 27 A harm is irreparable where there is no

adequate remedy at law. 28 “Federal courts have long recognized that, when the threatened harm is more

than de minimis, it is not so much the magnitude but the irreparability that counts for purposes of a

preliminary injunction…. [A]n injury is irreparable only if it cannot be undone through monetary

remedies…. The absence of an available remedy by which the movant can later recover monetary

damages…may…be sufficient to show irreparable injury. 29 “When a likelihood of confusion exists, the

plaintiff’s lack of control over the quality of the defendant’s goods or services constitutes an immediate

and irreparable injury, regardless of the actual quality of those goods or services.” 30

          10.     The Magistrate’s Report states that Applicants detailed the “misuse of the [Infringing

Domain] has caused and would continue to cause irreparable harm in the form of disruption of

[Applicants’] business, loss of customer good will, and brand confusion” and, thus, dilutes 31 Applicants’

brand. 32 “In order to have success on a dilution claim,” a plaintiff need only “show that it owns a

distinctive mark and that there is a likelihood dilution.” 33 “Because dilution gradually ‘whittles away’ a

mark’s uniqueness and distinctive selling power, its harm accrues over time. The longer the defendant

uses the diluting mark, the more time the public has to associate the plaintiff’s mark with another’s goods

or service. Accordingly, the Court finds that [plaintiff] has a threat it will suffer irreparable injury



27
   Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011).
28
   See Deerfield Med. Ctr. V. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981); Parks v. Dunlop, 517 F.2d 785,
787 (5th Cir. 1975); see also Kiva Kitchen & Bath, Inc. v. Capital Distrib., Inc., 319 Fed. App’x 316, 321 (5th Cir.
2009)(stating a court can award transfer of an infringing domain name and statutory damages).
29
   Paulsson Geophysical Services, v. Sigmar, 529 F.3d 303, 312 (5th Cir. 2008)(holding the district court did not clearly
err in finding a substantial threat of irreparable injury).
30
   Quantum Fitness Corp. v. Quantum Lifestyle Ctrs., LLC, 83 F. Supp. 2d 810, 831 (S.D. Tex. 1999).
31
   15 U.S.C. § 1125(c); see also Dkt. 10 at ¶¶25-27.
32
   Dkt. 34 at 5.
33
   Cottonwood Fin. Ltd. v. Cash Store Fin. Servs., 778 F. Supp. 2d 726, 742 (N.D. Tex. 2011).

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because any uses of [the marks] … constitute ‘acts’ that will likely dilute [the marks].” 34 Clearly,

Applicants established that the Ruffino mark 35 is distinctive and Pace’s actions of infringement 36 have

diluted Applicants’ brand. 37

         11.      Pace has attempted to sell the Infringing Domain for $94,000.00 approximately three (3)

months after filing this suit and six (6) months after the UDRP arbitration decision. 38 “[Pace’s] counsel

admitted that [Pace] had attempted to sell ‘ruffino.com’ since the NAF Decision, and that [Pace] intended

to continue his attempts to sell the [Infringing Domain] during the pendency of this action.” 39 The

Magistrate’s Report properly concluded that Applicants will suffer irreparable harm because “any

decision declaring [Applicants] as the rightful owners of ‘rufino.com’ and ordering [Pace] to submit a full

and final transfer would be meaningless” in light of Pace’s actions to sell the Infringing Domain and desire

to continue to do so while this action is pending. 40 Applicants, therefore, request that this Honorable

Court confirm the findings set forth in the Magistrate’s Report and issue the relief requested in the

Application.

                                                  VI.      PRAYER

         WHEREFORE, Applicants, CBI and Ruffino, pray for the reasons set forth herein, as supported

by the Counterclaim (Dkt. 12) and declaration and exhibits to the Application (Dkt. 18), that this

Honorable Court affirm the Magistrate’s Report (Dkt. 34) and issue the injunctive relief requested in the




34
   Id. at 760 (emphasis added).
35
    The mark of a competitor in the wine industry, Ernest and Julio Gallo Winery, has been determined to take on
“secondary meaning status.” E. & J. Winery v. Spider Webs, Ltd., 286 F.3d 270, 276 (5th Cir. 2002)(citing E. & J. Winery
v. Consorizo del Gallo Nero, 782 F. Supp. 457, 462 (N.D. Cal. 1991))(stating Ernest and Julio Gallo Winery’s registertated
mark was thirty-eight (38) years old and is considered distinctive and famous); see also Dkt. 18-3 at ¶ 2 (stating Ruffino
has owned the mark “RUFFINO” since 1951).
36
   Unauthorized use of a trademark to disseminate information contrary to the trademark holder’s business constitutes
imminent irreparable harm. Jews for Jesus v. Brodsky, 993 F. Supp. 282, 311-13 (D. N.J. 1998)(concluding potential
damage to the reputation of the plaintiff constitutes irreparable harm).
37
   Dkt. 18-3 at ¶¶6-14; see also People for Ethical Treatment of Animals v. Doughney, 113 F. Supp. 2d 915, 919 (E.D.
Va. 2000)(stating the Defendant “clearly intended to confuse, mislead and divert internet users into accessing his web
site,” which was harmful to “the goodwill represented by the PETA mark.”).
38
   Dkt. 18-3 Ex. A; Dkt. 26-1.
39
   Dkt. 34 at 5.
40
   Id.

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Application (Dkt. 18). Applicants further request such other and further relief, general or special, at law

or in equity, to which Applicants may show themselves justly entitled.

                                                       Respectfully submitted,

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                                                       ATTORNEYS FOR DEFENDANTS                      AND
                                                       COUNTER-PLAINTIFFS

                                                       *Admitted Pro Hac Vice


                                    CERTIFICATE OF SERVICE

        I certify that on January 5, 2018, I electronically filed the foregoing Response to Plaintiff’s
Objections to Order and Report and Recommendation with the Clerk of the Court for the United States
District Court, Eastern District of Texas, using the electronic case filing system of the Court. The
electronic case filing system sent a “Notice of Electronic Filing” to the attorneys of record by electronic
means.

                                                        /s/ Christian Dennie
                                                       Christian Dennie




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